UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

In re Terrorist Attacks on September 11,2001 | 03 MDL 1570 (GBD) (SN)
ECF Case

 

 

 

This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)

  

WEEE €1N AL ORDER OF JUDGMENT ON BEHALF OF
ASHTON 21 PLAINTIFFS IDENTIFIED AT EXHIBIT A

Upon consideration of the evidence and arguments submitted by Plaintiffs identified in
Exhibits A-1 and A-2 to this Order, plaintiffs in Ashton et al. v. Al Oaeda Islamic Army et al., 02-
cv-6977 (GBD) (SN) (“Ashton”), who are each an immediate family member of a victim killed in
the terrorist attacks on September 11, 2001, and the Judgment by Default for liability only against
the Islamic Republic of Iran (“Iran”) entered on 08/26/2015, together with the entire record in this
case, it is hereby;

ORDERED that service of process was effected upon Iran in accordance with 28 U.S.C.
§ 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b) for agencies and instrumentalities of
sovereign defendants;

ORDERED that final judgment is entered against Iran and on behalf of the Plaintiffs in
Ashton, as identified in the attached Exhibits A-1 and A-2, who are cach an immediate family
member of individuals killed in the terrorist attacks on September 11, 2001, as indicated in Exhibits
A-1 and A-2, and it is

ORDERED that Plaintiffs identified in Exhibits A-1 and A-2 are awarded: solatium

damages in the amount as set forth in Exhibits A-! and A-2; and it is

 

 
ORDERED that the Ashfon Plaintiffs identified in Exhibits A-1 and A-2 are awarded
prejudgment interest of 4.96 percent per annum, compounded annually, running from September
11, 2001 until the date of judgment, and it 1s

ORDERED that Plaintiffs identified in Exhibits A-1 and A-2 may submit an application
for punitive damages, economic damages, ot other damages (to the extent such awards have not
previously been ordered) at a later date consistent with any future rulings made by this Court on
this issue, and it is

ORDERED that the remaining Ashton Plaintiffs not appearing on Exhibits A-1 or A-2,
may submit in later stages applications for damages awards, and to the extent they are for solatium
or by estates for compensatory damages for decedents pain and suffering from the September 11
attacks, they will be approved consistent with those approved herein for the Plaintiffs appearing

on Exhibits A-1 and A-2.

Dated: New York, New York SO ORDERED:

Bebe Ti nany, 8, Dovel

GE GEA DANIELS
Usied $ District Judge

 

 
Case 1:03-md-01570-GBD-SN Document 6641-1 Filed 03/05/21 Page 1 of 9

EXHIBIT A-1

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT A-2

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
 

 

 

 

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